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                              EXHIBIT A
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                                                                       Filed: 2/11/2021                                   12:11   PM
                                                                                                                              Clerk
                                                 Marion Superior Court 2                                     Marion County, Indiana




  STATE OF INDIANA                                      IN   THE MARION SUPERIOR COURT

  COUNTY OF MARION


 ANGELA MILES,

                                               Plaintiff,


 vs.                                                         CAUSE NO.:

 COMENITY BANK and COMENITY
 CAPITAL BANK,




        Count   I -   Violation       Of The
                                                   M
                                           Defendants.




                                               Fair Credit Reporting Act 15 U.S.C. $1681, et seq


       COMES NOW Plaintiff, by and through counsel,                    and for Plaintiffs causes 0f action

against Defendants states as follows:


       1.       Jurisdiction 0fthis Court arises under 15 U.S.C.             §1681p and 28 U.S.C. §1331.

       2.       Venue        lies   properly in this district pursuant t0 28 U.S.C. §1391(b).


       3.       Plaintiff is a resident        of Indiana.


       4.       Defendants Comenity Bank and Comenity Capital Bank are Delaware Corporations


with their Principal Places 0f Business in Ohio.


       5.       At    all   times relevant hereto, Defendants Comenity            Bank and Comenity       Capital


Bank were and   are    engaged        in business all Within Indiana.


       6.       At    all   times pertinent hereto, Plaintiff is a “consumer” as that term      is   deﬁned by 15

U.S.C. §1681a(c).


       7.       At    all   times pertinent hereto, Defendants were acting by and through their agents,
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servants and/or employees               Who were    acting Within the course and scope 0f their agency 0r


employment, and under the              direct supervision   and control of the Defendants herein.

         8.        At   all   times pertinent hereto, the conduct 0f the Defendants as well as that 0f their


agents, servants and/or employees,               was malicious,    intentional, willful, reckless,    and   in grossly


negligent disregard for federal and state laws and the rights of the Plaintiff herein.


         9.        Plaintiff ﬁled for Chapter 7           Bankruptcy in the Southern District 0f Indiana 0n

September 26, 2019, Case N0. 19-07199-JJG—7A.

         10.       Plaintiff    was discharged from Chapter 7 Bankruptcy                in the Southern District    of


Indiana on     December       25, 2019.


         11.       A11 of Plaintiff’s accounts with Defendants Comenity                 Bank and Comenity     Capital


bank were discharged              in    the bankruptcy,     thus   extinguishing any existing creditor-debtor


relationship previously held            between the   parties.


         12.       On December 26,            Defendants were notiﬁed 0f Plaintiff” s bankruptcy discharge by


the Bankruptcy Noticing Center 0f the Southern District 0f Indiana.


         13.       On March        9,   2020 Defendant Comenity Bank accessed Plaintiffs               credit report


without a legally permissible purpose.


         14.       On July 7,     2020, Defendants Comenity         Bank and Comenity       Capital   Bank accessed

Plaintiff” s credit report      without a legally permissible purpose.


         15.       On December 30,            2020, Plaintiff made a phone    call t0   Defendant Comenity Bank,


asking   it   to explain   Why    Plaintiffs credit    was accessed, or What permissible purpose Defendant

may have had       for doing so.


         16.       Defendant Comenity Bank did not provide Plaintiff with an explanation; instead,                  it




simply conﬁrmed that           Plaintiff” s   previous account with Comenity      Bank was closed      in   December
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of 20 1 9.


         17.      On March      9,   2020 and July     7,   2020, Plaintiff did not have an existing credit


obligation 0n any account that Defendants could have been seeking t0 review.


         18.      At   the time 0f the aforementioned credit pulls, Plaintiff did not provide consent


or written instruction allowing Defendants to use or obtain her reports.


         19.      At   the time 0f the aforementioned credit pulls, Plaintiff                 had not applied for

employment With Defendants

         20.      At the time 0f the aforementioned             credit pulls, Plaintiff neither   had nor intended    to


have any interaction with Defendant        in connection            with insurance.


         21.      Because   Plaintiff knew that her accounts With             Defendant had been discharged in


bankruptcy, Plaintiff believed that Defendants accessed her credit report on a debt that had been


discharged in bankruptcy.


         22.      The accessing of       Plaintiff’s    credit report        by Defendants Without a         legally


permissible purpose      was   willfully, recklessly and/or negligently in Violation              0f the Fair Credit


Reporting Act.


         23.      Defendants violated       15   U.S.C.         §     1681b(f)   by   willfully   and/or recklessly


accessing, attaching, publishing and using Plaintiff” s credit proﬁle without a permissible purpose


0r authorization under the     FCRA.

         24.      Defendants violated 15 U.S.C.             §       1681n by negligently accessing, attaching,

publishing and using Plaintiffs credit ﬁle Without a permissible purpose 0r authorization under


the   FCRA.

         25.      Defendants violated 15 U.S.C.         §   16810 by willfully and/or recklessly accessing,

attaching,     publishing and using Plaintiffs credit ﬁle without a permissible purpose 0r
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authorization under the      FCRA.

        26.        As   a result 0f the above Violations 0f the   FCRA,   Plaintiff suffered   an invasion of


privacy, as well as garden variety emotional distress in the form of anger, frustration,


humiliation, and embarrassment.


        27.        As   a result of the above Violations 0f the   FCRA,   the Defendants are liable t0 the


Plaintiff in the   sum of Plaintiff’s   actual damages, statutory damages, punitive damages, costs,


disbursements, and reasonable attorney's fees.


          WHEREFORE,            Plaintiff respectfully prays that     judgment be entered against the

  Defendants Comenity Bank and Comenity Capital Bank for actual damages; punitive damages,


  statutory   damages pursuant to 15 U.S.C. §1692k;       costs   and reasonable attorney’s fees pursuant

  to 15 U.S.C.     §1692k; and for such other and further relief as     may be just and proper.



                                                           Respectfully submitted,


                                                           /s/John T. Steinkamp
                                                           John T. Steinkamp, #19891-49
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                                                           Attorney for Plaintiff
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                                  Demand   for   Jury Trial

       COMES NOW Plaintiff Angela Miles and demands a jury trial 0n all issues   so triable.




                                                   /s/   John T. Steinkamp
                                                   Attorney for Plaintiff
